Case 6:17-cv-01215-EFM Document 139-7 Filed 11/15/19 Page 1 of 54
Case 6:17-cv-01215-EFM Document 139-7 Filed 11/15/19 Page 2 of 54
Case 6:17-cv-01215-EFM Document 139-7 Filed 11/15/19 Page 3 of 54
Case 6:17-cv-01215-EFM Document 139-7 Filed 11/15/19 Page 4 of 54
Case 6:17-cv-01215-EFM Document 139-7 Filed 11/15/19 Page 5 of 54
Case 6:17-cv-01215-EFM Document 139-7 Filed 11/15/19 Page 6 of 54
Case 6:17-cv-01215-EFM Document 139-7 Filed 11/15/19 Page 7 of 54
Case 6:17-cv-01215-EFM Document 139-7 Filed 11/15/19 Page 8 of 54
Case 6:17-cv-01215-EFM Document 139-7 Filed 11/15/19 Page 9 of 54
Case 6:17-cv-01215-EFM Document 139-7 Filed 11/15/19 Page 10 of 54
Case 6:17-cv-01215-EFM Document 139-7 Filed 11/15/19 Page 11 of 54
Case 6:17-cv-01215-EFM Document 139-7 Filed 11/15/19 Page 12 of 54
Case 6:17-cv-01215-EFM Document 139-7 Filed 11/15/19 Page 13 of 54
Case 6:17-cv-01215-EFM Document 139-7 Filed 11/15/19 Page 14 of 54
Case 6:17-cv-01215-EFM Document 139-7 Filed 11/15/19 Page 15 of 54
Case 6:17-cv-01215-EFM Document 139-7 Filed 11/15/19 Page 16 of 54
Case 6:17-cv-01215-EFM Document 139-7 Filed 11/15/19 Page 17 of 54
Case 6:17-cv-01215-EFM Document 139-7 Filed 11/15/19 Page 18 of 54
Case 6:17-cv-01215-EFM Document 139-7 Filed 11/15/19 Page 19 of 54
Case 6:17-cv-01215-EFM Document 139-7 Filed 11/15/19 Page 20 of 54
Case 6:17-cv-01215-EFM Document 139-7 Filed 11/15/19 Page 21 of 54
Case 6:17-cv-01215-EFM Document 139-7 Filed 11/15/19 Page 22 of 54
Case 6:17-cv-01215-EFM Document 139-7 Filed 11/15/19 Page 23 of 54
Case 6:17-cv-01215-EFM Document 139-7 Filed 11/15/19 Page 24 of 54
Case 6:17-cv-01215-EFM Document 139-7 Filed 11/15/19 Page 25 of 54
Case 6:17-cv-01215-EFM Document 139-7 Filed 11/15/19 Page 26 of 54
Case 6:17-cv-01215-EFM Document 139-7 Filed 11/15/19 Page 27 of 54
Case 6:17-cv-01215-EFM Document 139-7 Filed 11/15/19 Page 28 of 54
Case 6:17-cv-01215-EFM Document 139-7 Filed 11/15/19 Page 29 of 54
Case 6:17-cv-01215-EFM Document 139-7 Filed 11/15/19 Page 30 of 54
Case 6:17-cv-01215-EFM Document 139-7 Filed 11/15/19 Page 31 of 54
Case 6:17-cv-01215-EFM Document 139-7 Filed 11/15/19 Page 32 of 54
Case 6:17-cv-01215-EFM Document 139-7 Filed 11/15/19 Page 33 of 54
Case 6:17-cv-01215-EFM Document 139-7 Filed 11/15/19 Page 34 of 54
Case 6:17-cv-01215-EFM Document 139-7 Filed 11/15/19 Page 35 of 54
Case 6:17-cv-01215-EFM Document 139-7 Filed 11/15/19 Page 36 of 54
Case 6:17-cv-01215-EFM Document 139-7 Filed 11/15/19 Page 37 of 54
Case 6:17-cv-01215-EFM Document 139-7 Filed 11/15/19 Page 38 of 54
Case 6:17-cv-01215-EFM Document 139-7 Filed 11/15/19 Page 39 of 54
Case 6:17-cv-01215-EFM Document 139-7 Filed 11/15/19 Page 40 of 54
Case 6:17-cv-01215-EFM Document 139-7 Filed 11/15/19 Page 41 of 54
Case 6:17-cv-01215-EFM Document 139-7 Filed 11/15/19 Page 42 of 54
Case 6:17-cv-01215-EFM Document 139-7 Filed 11/15/19 Page 43 of 54
Case 6:17-cv-01215-EFM Document 139-7 Filed 11/15/19 Page 44 of 54
Case 6:17-cv-01215-EFM Document 139-7 Filed 11/15/19 Page 45 of 54
Case 6:17-cv-01215-EFM Document 139-7 Filed 11/15/19 Page 46 of 54
Case 6:17-cv-01215-EFM Document 139-7 Filed 11/15/19 Page 47 of 54
Case 6:17-cv-01215-EFM Document 139-7 Filed 11/15/19 Page 48 of 54
Case 6:17-cv-01215-EFM Document 139-7 Filed 11/15/19 Page 49 of 54
Case 6:17-cv-01215-EFM Document 139-7 Filed 11/15/19 Page 50 of 54
Case 6:17-cv-01215-EFM Document 139-7 Filed 11/15/19 Page 51 of 54
Case 6:17-cv-01215-EFM Document 139-7 Filed 11/15/19 Page 52 of 54
Case 6:17-cv-01215-EFM Document 139-7 Filed 11/15/19 Page 53 of 54
Case 6:17-cv-01215-EFM Document 139-7 Filed 11/15/19 Page 54 of 54
